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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    DONALD BRATTON AND DONALD                                  §
    MALLARD, INDIVIDUALLY AND AS                               §
    REPRESENTATIVE OF THE ESTATE                               §
    OF JERVIE MALLARD, SR.,                                    §
    DECEASED,                                                  §
                                                               §
                             Plaintiffs                        §
                                                               §
    vs.                                                        §    CIVIL ACTION NO: _____________
                                                               §
    UNION PACIFIC RAILROAD                                     §
    COMPANY; PASTOR, BEHLING &                                 §
    WHEELER, LLC; AND                                          §
    ENVIRONMENTAL RESOURCES                                    §
    MANAGEMENT SOUTHWEST, INC.,                                §
                                                               §
                             Defendants                        §

                DEFENDANT UNION PACIFIC RAILROAD COMPANY’S NOTICE OF REMOVAL

           Defendant Union Pacific Railroad Company (“Union Pacific”) removes Cause No. 2021-

30439 from the 270th Judicial District Court of Harris County, Texas to the United States District

Court for the Southern District of Texas, Houston Division, pursuant to 28 U.S.C. § 1441.

                                                  I.       Overview

           1.      The Plaintiffs1 sued Union Pacific in Texas state court making allegations that

constitute a claim for violating the federal Resource Conservation and Recovery Act (“RCRA”). 2

Because Plaintiffs are suing Union Pacific for alleged “violation[s] of any permit, standard,




1
 The “Plaintiffs” are Plaintiffs Donald Bratton and Donald Mallard, Individually and as Representative of the Estate
of Jervie Mallard, Sr., Deceased.
2
 42 U.S.C. § 6901 et seq.; Plaintiffs’ Original Petition at ¶ 18, attached as Ex. 2; Ex. A to Plaintiffs’ Original Petition
(Bedient Declaration) at ¶ 6, attached as Ex. 3; Ex. 3 at ¶ 7.
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regulation, condition, requirement, prohibition, or order which has become effective pursuant to”

RCRA, their claims fall within the provisions of RCRA’s citizen-suit provisions. 3

           2.       Under 42 U.S.C. § 6972, federal courts have exclusive jurisdiction over RCRA

citizen suits.4 This Court, therefore, has federal-question and exclusive jurisdiction over this case

under 28 U.S.C. § 1331 and 42 U.S.C. § 6972, and this case is removable to federal court.

           3.       Additionally, because this case involves a substantial federal question embedded in

a state-law cause of action, this Court has jurisdiction over this case under 28 U.S.C. § 1331, an

independent reason for removal to federal court. 5

                                            II.      State Court Action

           4.       The above-styled cause was initially brought in the 270th Judicial District Court of

Harris County, Texas. The state court action is styled Donald Bratton and Donald Mallard,

Individually and as Representative of the Estate of Jervie Mallard, Sr., Deceased v. Union Pacific

Railroad Company; Pastor, Behling & Wheeler, LLC; and Environmental Resources Management

Southwest, Inc.; Cause No. 2021-30439.6




3
 42 U.S.C. § 6972(a)(1)(A). As explained below, Plaintiffs’ claims also fall under RCRA’s citizen-suit provision
because Plaintiffs have sued a past or present owner of a treatment, storage, or disposal facility alleging “an imminent
and substantial endangerment to health or the environment.” 42 U.S.C. § 6972(a)(1)(B).
4
 42 U.S.C. § 6972 (“Any action under paragraph (a)(1) of this subsection shall be brought in the district court for the
district in which the alleged violation occurred or the alleged endangerment may occur.”); see also Litgo New Jersey
Inc. v. Comm’r New Jersey Dep’t of Envtl. Prot., 725 F.3d 369, 394 (3d Cir. 2013) (“The overwhelming majority of
courts that have addressed this issue have read this provision to confer exclusive jurisdiction on federal courts, based
on the statute’s instruction that RCRA claims ‘shall be brought’ in a ‘district court.’”); K-7 Enterprises, L.P. v. Jester,
562 F. Supp. 2d 819, 827 (E.D. Tex. 2007) (“federal district courts have exclusive jurisdiction over RCRA citizen
suits”).
5
    Merrill Lynch, Pierce, Fenner & Smith Inc. v. Manning, 136 S. Ct. 1562, 1570 (2016).
6
    See Ex. 2.
                                                            2
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                                                 III.     Parties

           5.       The Plaintiffs are Donald Bratton and Donald Mallard, Individually and as

Representative of the Estate of Jervie Mallard, Sr., Deceased.

           6.       The Defendants are Union Pacific Railroad Company; Pastor, Behling & Wheeler,

LLC; and Environmental Resources Management Southwest, Inc.

                                              IV.       Jurisdiction

           7.       This Court has jurisdiction over the pending action under 28 U.S.C. § 1331, 42

U.S.C. § 6972, and 28 U.S.C. § 1367.

           8.       In their Petition, the Plaintiffs allege personal injury damages and in their Prayer

they request “. . . for such other and further relief, both in law and in equity, to which Plaintiffs

and Decedent may show themselves justly entitled.” All of the Plaintiff’s claims involve an alleged

groundwater plume near a former Southern Pacific facility located at 4910 Liberty Road, Houston,

Texas 77026, which is now owned by Union Pacific (the “Site”). 7 Plaintiffs have brought causes

of action against Union Pacific and the other Defendants for negligence, also alleging respondeat

superior, and seeking personal-injury, wrongful-death, survival, and exemplary damages. 8 In

addition, the Plaintiffs make allegations and claims that constitute violations of RCRA as set forth

in more detail below and seek relief, both in law and in equity.

           9.       Union Pacific has permits under RCRA regarding the Site. 9




7
    Ex. 2 at ¶¶ 18-28.
8
    Ex. 2 at ¶¶ 20-26.
9
    Union Pacific First Amended Answer, attached as Ex. 12.
                                                         3
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            10.       In their petition, as well as the attached Declaration of Phillip Bedient, the Plaintiffs

allege that Union Pacific and the other Defendants failed to properly remediate alleged creosote

contamination.10 They also allege that the Defendants’ failure to act creates a cancer risk. 11 The

Bedient Declaration alleges that the Defendants have violated RCRA. 12

A.          RCRA Citizen Suit

            11.       This Court has jurisdiction over this case because the Plaintiffs alleged a RCRA

citizen suit.

            12.       Under RCRA’s citizen-suit provisions:

                     Any person may sue another person for alleged “violation of any permit,
                      standard, regulation, condition, requirement, prohibition, or order which
                      has become effective pursuant to” RCRA;13 and
                     Any person may sue a past or present owner of a treatment, storage, or
                      disposal facility regarding “an imminent and substantial endangerment
                      to health or the environment.”14
            13.       The Plaintiffs’ petition meets the requirements of a RCRA citizen suit under both

provisions because the Plaintiffs are (1) suing Union Pacific and the other Defendants for violating




10
     Ex. 2 at ¶¶ 10-13; Ex. 3 at ¶¶ 6-7.
11
     Ex. 2 at ¶ 18.
12
  42 U.S.C. § 6901 et seq.; Ex. A to Plaintiffs’ Original Petition (Bedient Declaration) at ¶ 6, attached as Ex. 3 (“The
development and refinement of a reasonably reliable CSM is a key step in the regulatory process, through either the
federal Resource Conservation and Recovery Act (RCRA) or the state’s Texas Risk Reduction (TRR) program…. In
the work of ERM and PBW, their CSM is static and does not appear to have changed to any degree since the mid-
1990’s, even though additional data was collected showing their CSM was not accurately representing the key
hydrogeologic features of the site and exposure routes to the surrounding areas.”); Ex. 3 at ¶ 7 (“In the RCRA and
TRR process, identification of additional areas of investigation should occur as the site process progresses and new
information becomes available, particularly on complex sites like this one.… However, here we do not see any
changes in the site process when the SWMUs and AOCs were identified by ERM and PBW for the site.”).
13
     42 U.S.C. § 6972(a)(1)(A).
14
     42 U.S.C. § 6972(a)(1)(B).
                                                           4
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RCRA, and (2) suing Union Pacific, which is the property owner, for allegedly creating a cancer

risk.15

            14.          Congress has authorized states to administer the federal RCRA permits with the

approval of the federal Environmental Protection Agency (“EPA”). 16 Since 1984, the EPA has

authorized the State of Texas to administer federal RCRA permits in the state. 17 Union Pacific has

federal RCRA permits for the Site issued by the Texas Commission on Environmental Quality. 18

            15.          In his declaration attached as an exhibit to the Plaintiffs’ state-court petition, Phillip

Bedient states that preparation of a “Conceptual Site Model” (“CSM”) “is a key step” in the RCRA

regulatory process.19 Bedient states that the companies that Union Pacific retained to provide

engineering services regarding the Site did not create a proper CSM. 20 Bedient contends that the

alleged failure to create a proper CSM resulted in an improper cleanup process under RCRA. 21

Bedient and the Plaintiffs, therefore, allege that Union Pacific and the other Defendants violated

RCRA permits, standards, regulations, conditions, and requirements regarding the Site. 22 The

Plaintiffs’ petition, therefore, qualifies as a RCRA citizen suit. 23

            16.          In addition, the Plaintiffs are asserting a claim against Defendants for the following:




15
     Ex. 2 at ¶¶ 10-13, 18; Ex. 3 at ¶¶ 6-7.
16
     42 U.S.C. § 6926(b).
17
     40 C.F.R. § 727.2201(a).
18
     Ex. 12.
19
     Ex. 3 at ¶ 6.
20
     Ex. 3 at ¶¶ 6, 9.
21
     Ex. 3 at ¶ 7.
22
     42 U.S.C. § 6972(a)(1)(A); Ex. 2; Ex. 3.
23
     42 U.S.C. § 6972(a)(1).
                                                             5
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“Causing, allowing, and permitting the collection, handling, storage, processing, and disposal of

industrial solid waste [and hazardous waste] in such a manner, so as to cause: 1) The creation and

maintenance of a nuisance; or 2) The endangerment of the public health and welfare.” 24 These

allegations also assert claims against the Defendants under RCRA. Plaintiffs are suing Defendants

for the past or present handling, storage, treatment or disposal of any solid or hazardous waste that

presents an imminent and substantial endangerment to health or the environment. 25 Union Pacific

reserves the right to assert any and all defenses that it has to the Plaintiffs’ RCRA claims.

           17.       The Plaintiffs’ petition qualifies as a RCRA citizen suit even though they couch the

suit as a personal-injury suit because they allege violations of RCRA. Federal courts look to the

substance of a plaintiff’s claims and not the title that a plaintiff uses when determining the claims

that a plaintiff is actually alleging.26 Because the Plaintiffs’ allegations fall within the provisions

of a RCRA citizen suit and they have specifically alleged violations of the RCRA federal statute,

they are considered to be bringing a RCRA citizen suit.

           18.       Under 42 U.S.C. § 6972, federal courts have exclusive jurisdiction over RCRA

citizen suits.27 This Court, therefore, has federal-question and exclusive jurisdiction over this case


24
     Ex. 2 at ¶¶ 20(o)-(p).
25
     42 U.S.C. § 6972(a)(1)(B).
26
   Cahill v. New York, N. H. & H. R. Co., 351 U.S. 183, 188 (1956) (“The substance of the pleadings and not their
labels should govern our action.”); Edwards v. City of Houston, 78 F.3d 983, 995 (5th Cir. 1996) (en banc) (in
construing pleadings, federal courts look to the “substance, not a label”); Armstrong v. Capshaw, Goss & Bowers,
LLP, 404 F.3d 933, 936 (5th Cir. 2005) (The Fifth Circuit has “instructed district courts to determine the true nature
of a pleading by its substance, not its label.”); United States v. Gomez-Rosales, CR 2:09-1046-5, 2016 WL 4246994,
at *2 (S.D. Tex. Aug. 10, 2016) (“Because the essence of the pleading controls, the title may be ignored.”); In re
Dexterity Surgical, Inc., 365 B.R. 690, 701 (Bankr. S.D. Tex. 2007) (“This Court has repeatedly recognized that the
Fifth Circuit instructs courts to the look to substance of pleadings rather than the labels stated in pleadings in
determining what relief the movant seeks.”).
27
  42 U.S.C. § 6972 (“Any action under paragraph (a)(1) of this subsection shall be brought in the district court for the
district in which the alleged violation occurred or the alleged endangerment may occur.”); see also Litgo New Jersey

                                                           6
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under 28 U.S.C. § 1331 and 42 U.S.C. § 6972. This Court has supplemental jurisdiction under 28

U.S.C. § 1367 over the Plaintiffs’ state-law claims.

B.         Substantial Federal Question Embedded in State-Law Cause of Action

           19.      This Court also has jurisdiction over this case because it involves a substantial

federal question embedded in a state-law cause of action. 28 The United States Supreme Court has

held that in addition to cases where federal law creates a cause of action, there is also federal-

question jurisdiction over “a state-law claim if it necessarily raises a stated federal issue, actually

disputed and substantial, which a federal forum may entertain without disturbing any

congressionally approved balance of federal and state power.” 29

           20.      The Supreme Court has held that there is substantial-federal-issue jurisdiction over

a state-law claim when the federal issue is:

                 1. Necessarily raised;

                 2. Actually disputed;

                 3. Substantial; and

                 4. Capable of resolution in federal court without disrupting the federal-
                    state balance approved by Congress.30




Inc. v. Comm’r New Jersey Dep’t of Envtl. Prot., 725 F.3d 369, 394 (3d Cir. 2013) (“The overwhelming majority of
courts that have addressed this issue have read this provision to confer exclusive jurisdiction on federal courts, based
on the statute’s instruction that RCRA claims ‘shall be brought’ in a ‘district court.’”); K-7 Enterprises, L.P. v. Jester,
562 F. Supp. 2d 819, 827 (E.D. Tex. 2007) (“federal district courts have exclusive jurisdiction over RCRA citizen
suits”).
28
     Merrill Lynch, 136 S. Ct. at 1570; Gunn v. Minton, 133 S.Ct. 1059, 1064 (2013)
29
  Merrill Lynch, 136 S. Ct. at 1570 (quoting Grable & Sons Metal Products, Inc. v. Darue Eng’g & Mfg., 545 U.S.
308, 314 (2005)) (cleaned up).
30
     Gunn v. Minton, 568 U.S. 251, 258 (2013); Grable & Sons, 545 U.S. at 314.
                                                            7
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           21.      That standard is met here because what the Plaintiffs call state-law negligence

claims allege violations of RCRA, which Union Pacific and the other Defendants deny. 31 It is a

substantial part of the Plaintiffs’ claims against the Defendants. Congress gave federal courts

exclusive jurisdiction over suits regarding alleged RCRA violations, so it has indicated that this is

an area where the federal-state balance weighs heavily in favor of federal involvement. 32                    Few

personal-injury lawsuits raise RCRA violations to support their negligence claims, so federal

courts resolving the RCRA issues here will not disrupt the federal-state balance approved by

Congress.33

           22.      This Court, therefore, has federal-question jurisdiction over this case under 28

U.S.C. § 1331 because the Plaintiffs’ claims of RCRA violations create a substantial federal

question embedded in a state-law cause of action. This Court has supplemental jurisdiction under

28 U.S.C. § 1367 over the Plaintiffs’ state-law claims.

                                           V.      Timeliness of Removal

           23.      Union Pacific was served with process and the Plaintiffs’ petition on June 7, 2021. 34

Defendant Pastor, Behling & Wheeler, LLC was served with process and the Plaintiffs’ petition

on June 7, 2021.35 Defendant Environmental Resources Management Southwest, Inc. was served




31
  Ex. 2 at ¶¶ 10-13; Ex. 3 at ¶¶ 6-9; Union Pacific’s Original Answer, attached as Ex. 11; Ex. 12; Defendant Pastor,
Behling & Wheeler, LLC’s Original Answer, attached as Ex. 13; Defendant Environmental Resources Management
Southwest, Inc.’s Original Answer, attached as Ex. 14.
32
     42 U.S.C. § 6972.
33
     See Grable & Sons, 545 U.S. at 319.
34
     Service of Process on Union Pacific, attached as Ex. 4.
35
  Service of Process on Defendant Pastor, Behling & Wheeler, LLC, attached as Ex. 5; Affidavit of Service on
Defendant Pastor, Behling & Wheeler, LLC, attached as Ex. 6.
                                                               8
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with process and the Plaintiffs’ petition on June 3, 2021. 36 Over thirty days have not elapsed since

Union Pacific—or any Defendant—was served with process. Pursuant to 28 U.S.C. § 1446, this

Notice of Removal is timely and proper.

                                    VI.      Conditions Precedent

        24.      Union Pacific has tendered the filing fee of $400 to the Clerk of the United States

District Court for the Southern District of Texas, Houston Division, along with the original Notice

of Removal.

        25.      All Defendants have joined in this Notice of Removal. 37

        26.      A copy of this Notice of Removal is being filed in the 270th District Court of Harris

County, Texas, and counsel for Plaintiffs are being provided with a copy of this Notice of Removal.

        27.      By filing this Notice of Removal, Union Pacific does not waive any defenses,

affirmative claims, counterclaims, or third-party claims that may be available, including the

Plaintiffs’ claims that Union Pacific is liable to it under 42 U.S.C. § 6972, has violated any

provision of RCRA, or is posing, or has posed, an imminent or substantial endangerment to health

or the environment.

                           VII.    Exhibits Being Filed With This Court

        28.      Accompanying this Notice of Removal are the following Exhibits, which are being

filed contemporaneously in this Court:

              Exhibit 1:    Index of Matters Being Filed



36
  Service of Process on Defendant Environmental Resources Management Southwest, Inc., attached as Ex. 7;
Affidavit of Service on Defendant Environmental Resources Management Southwest, Inc., attached as Ex. 8.
37
  Defendant Pastor, Behling & Wheeler, LLC’s Consent to Removal, attached as Ex. 9; Defendant Environmental
Resources Management Southwest, Inc.’s Consent to Removal, attached as Ex. 10.
                                                    9
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             Exhibit 2:    Plaintiffs’ Original Petition

             Exhibit 3:    Ex. A to Plaintiffs’ Original Petition – Bedient Declaration

             Exhibit 4:    Service of Process on Union Pacific

             Exhibit 5:    Service of Process on Defendant Pastor, Behling & Wheeler,
                           LLC

             Exhibit 6:    Affidavit of Service on Defendant Pastor, Behling &
                           Wheeler, LLC

             Exhibit 7:    Service of Process on Defendant Environmental Resources
                           Management Southwest, Inc.

             Exhibit 8:    Affidavit of Service on Defendant Environmental Resources
                           Management Southwest, Inc.

             Exhibit 9:    Defendant Pastor, Behling & Wheeler, LLC’s Consent to
                           Removal

             Exhibit 10:   Defendant    Environmental     Resources       Management
                           Southwest, Inc.’s Consent to Removal

             Exhibit 11:   Union Pacific Original Answer

             Exhibit 12:   Union Pacific First Amended Answer, with Exhibits

             Exhibit 13    Defendant Pastor, Behling & Wheeler, LLC’s Original
                           Answer

             Exhibit 14:   Defendant    Environmental     Resources       Management
                           Southwest, Inc.’s Original Answer

             Exhibit 15:   State Court Docket Sheet

             Exhibit 16:   List of All Counsel of Record

                                        VIII. Conclusion

       29.      Because the Plaintiffs have alleged claims over which federal courts have federal-

question jurisdiction, exclusive jurisdiction, and supplemental jurisdiction, Union Pacific removes



                                                 10
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the above-captioned case from the 270th District Court of Harris County, Texas to the United

States District Court for the Southern District of Texas, Houston Division.

                                             Respectfully submitted,

                                             /s/ Earnest W. Wotring
                                             Attorney-in-Charge
                                             Earnest W. Wotring
                                             Texas Bar No. 22012400
                                             Southern District No. 15284
                                             John Muir
                                             Texas Bar No. 134630477
                                             Southern District No. 9404
                                             David George
                                             Texas Bar No. 00793212
                                             Southern District No. 19330
                                             BAKER • WOTRING LLP
                                             700 JPMorgan Chase Tower
                                             600 Travis St.
                                             Houston, Texas 77002
                                             Tel: (713) 980-1700
                                             Fax:(713) 980-1701
                                             ewotring@bakerwotring.com
                                             jmuir@bakerwotring.com
                                             dgeorge@bakerwotring.com

                                             Attorneys for Defendant
                                             Union Pacific Railroad Company




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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing instrument
was served on the following through e-filing and/or email on July 2, 2021.

              Wayne D. Collins
              Afton J. Parker
              W.D. COLLINS LAW FIRM PLLC
              5535 Memorial Drive, Suite F, Box 1102
              Houston, Texas 77007
              wayne@wdcollins.com
              afton@wdcollins.com

              Mike Stenglein
              Edward F. Fernandes
              KING & SPALDING LLP
              500 W. 2nd Street
              Austin, Texas 78701
              mstenglein@kslaw.com
              efernandes@kslaw.com

              Elizabeth Robertson Taber
              Mitchell B. Bryant
              KING & SPALDING LLP
              1100 Louisiana, Suite 4100
              Houston, Texas 77002
              etaber@kslaw.com
              mbbryant@kslaw.com

              Don Jackson
              Texas Bar No. 10476000
              donjackson@warejackson.com
              Kiara C. Gradney
              Texas Bar No. 24097754
              kiaragradney@warejackson.com
              WARE, JACKSON, LEE, O’NEILL, SMITH & BARROW, LLP
              2929 Allen Parkway, 39th Floor
              Houston, Texas 77019


                                            /s/ Earnest W. Wotring
                                            Earnest W. Wotring


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